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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 THE CITY OF PHILADELPHIA                           CIVIL ACTION

           v.                                       NO. 17-3894

 JEFFERSON BEAUREGARD SESSIONS
 III, ATTORNEY GENERAL OF THE
 UNITED STATES

                                       PRETRIAL ORDER

       Following discussion at a pretrial conference this date on a number of issues pertaining to

the trial beginning on Monday, April 30, 2018, and after review of the pending motion for

summary judgment filed by the Defendant (ECF 155) and a motion for partial summary judgment

by the City of Philadelphia (ECF 157), it is now this 26th day of April, 2018, ORDERED as

follows:

       1.       The Defendant’s motion for summary judgment as to Counts I, II and III of the

Amended Complaint is DENIED.

       2.       The Court concludes that both parties’ motions rely on arguments that were made at

the hearing on the motion for preliminary injunction and that the ruling that the Court made at that

time should be confirmed at this time, as to two of the Challenged Conditions (prison access and

advance notice).

       3.       Therefore, Plaintiff’s motion for partial summary judgment is GRANTED as to

Counts I, II and III of the Amended Complaint, that two of three Challenged Conditions (prison

access and advance) are invalid as a matter of law. The issues of irreparable harm and relief are

reserved for any evidence at trial and further argument after trial.
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       4.      As the City has not moved for partial summary judgment as to Counts IV and V, the

Court will hold under advisement the Defendant’s motion for summary judgment as to those

Counts.

       5.      As to the various motions in limine, the Court has ruled as follows:

               a.      Defendant re: Bureau of Prisons or United States Marshals Services

       Witness (ECF 169) – Held under advisement pending the testimony of defense witness

       O’Neill.

               b.      City re: Gillespie Memorandum (ECF 172) – DENIED.

               c.      Defendant re: Testimony of Gladstein and Farley (ECF 175) – Held under

       advisement pending receipt of other testimony.

               d.      City re: Ross, Farley and Gladstein (ECF 178) – Held under advisement

       pending receipt of other testimony.

       6.      Objections

               a.      Defendant’s objection to Plaintiff’s Exhibit List (ECF 177) – Held under

       advisement.

               b.      Defendant’s objection to Plaintiff’s Transcript Designation (ECF 176) –

       DENIED.

       7.      Plaintiff’s motion for the incorporation of the preliminary injunction transcript into

the record of this trial is GRANTED.

       8.      Defendant’s Objections to Judicial Notice is DENIED. The Court will determine

after trial the significance, if any, the prior statements have on the merits.




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        9.      As to the Joint Stipulation of Facts (ECF 179), as discussed at the hearing, the

Court will only consider stipulated facts as agreed to by both parties. Proposed stipulated facts as

to which either party has submitted comments will not be considered as stipulated and either party

is allowed to present evidence on these points.

                                                        BY THE COURT:

                                                        /s/ Michael M. Baylson

                                                        MICHAEL M. BAYLSON, U.S.D.J.

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